         Case 2:17-cr-00028-WBS Document 111 Filed 10/23/18 Page 1 of 2


 1    Ruzanna Poghosyan (SBN 256477)
      RP Defense Law, APC
 2    16861 Ventura Blvd. Suite 305
      Encino, CA 91436
 3    Tel: 818-646-3443
      Fax: 818-451-8235
 4    Email: ruzanna@rpcriminaldefense.com
      Attorneys for Oganes Emirzyan
 5

 6
                                                UNITED STATES DISTRICT COURT
 7
                                              EASTERN DISTRICT OF CALIFORNIA
 8

 9
      UNITED STATES,                                           No. 17-CR-0028-03 WBS
10
                                 Plaintiff,                    STIPULATION AND [PROPOSED] ORDER
11                                                             TO CONTINUE SENTENCING TO
                 v.                                            DECEMBER 3, 2018, AT 9:00 A.M.
12
      OGANES EMIRZYAN,                                         Date: November 5, 2018
13
                                 Defendants.                   Time: 9:00 AM
14
                                                               Judge: Hon . William B. Shubb
15

16

17                IT IS HEREBY STIPULATED AND AGREED between the defendant, Oganes

18    Emirzyan, by and through his undersigned defense counsel, and the United States of America, by

19    and through its counsel, Assistant U.S. Attorney Brian Fogerty, that the Judgment and Sentencing

20    presently set for November 5, 2018 should be continued to December 3, 2018 at 9:00 a.m., and

21    that time under the Local Rule 460 (Fed. R. Crim. P 32) for Filing of Objections to the Pre-

22    Sentencing Report and Reply or Statement should be as follows:

23
      Motion for Correction of the Pre-Sentence Report: 11-19-2018 (2 weeks before sentencing)
24

25    Reply or Statement:                                          11-26-2018 (1 week before sentencing)

26               The reason for the continuance is that the Pre-Sentence Report contains a statement,

27    which is in disputed and which may be resolved between the parties through stipulation and

28    without formal objections. Parties need more time to prepare for sentencing.
     Stipulation and [Proposed] Order to Continue Sentencing   1
         Case 2:17-cr-00028-WBS Document 111 Filed 10/23/18 Page 2 of 2


 1    DATED: October 22, 2018                                  /s/ Ruzanna Poghosyan
                                                               RUZANNA POGHOSYAN
 2                                                             Attorney for OGANES EMIRZYAN

 3
      DATED: October 22, 2018                                  /s/ Brian Fogerty
 4                                                             BRIAN FOGERTY
                                                               Attorney for the United States
 5

 6
                                                               ORDER
 7

 8
                 Based on parties’ stipulation and for the reasons stated above, IT IS SO ORDERED.
 9
      Judgment and Sentencing in this matter will take place on December 3, 2018, at 9:00 AM.
10

11

12    Motion for Correction of the Pre-Sentence Report                11-19-2018 (2 weeks before sentencing)
      Shall be Filed with the Court and Served on the
13    Probation Officer and Opposing Counsel no
14    Latter Than:

15    Reply or Statement:                                             11-26-2018 (1 week before sentencing)
16

17
                 Dated: October 22, 2018
18

19

20
21

22

23

24

25

26
27

28
     Stipulation and [Proposed] Order to Continue Sentencing      2
